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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION
                  __________________________________________

TEXAS MEDICAL ASSOCIATION, et al.,      )
                                        )
               Plaintiffs,              )
                                        )
v.                                      )
                                        )
UNITED STATES DEPARTMENT OF             )
HEALTH AND HUMAN SERVICES, et al.,      )
                                        ) Case No.: 6:22-cv-00372-JDK
              Defendants.               )
                                        ) Lead Consolidated Case
                                        )
                                        )
                                        )
                                        )
                                        )


             PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
               AND MEMORANDUM IN SUPPORT THEREOF
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       Plaintiffs Texas Medical Association (“TMA”), Dr. Adam Corley, and Tyler Regional

Hospital, LLC, respectfully move for summary judgment on Counts I and II of their complaint.1

                                       INTRODUCTION

       Earlier this year, in Texas Medical Association v. Department of Health & Human Services

(“TMA I”), No. 6:21-cv-425-JDK, 2022 WL 542879 (E.D. Tex. Feb. 23, 2022), this Court invali-

dated an interim final rule issued by defendants (collectively, “the Departments”) requiring arbi-

trators to presume that the so-called “qualifying payment amount” or “QPA” is the appropriate

reimbursement rate for out-of-network healthcare services under the federal independent dispute

resolution (“IDR”) process established by the No Surprises Act (“NSA”). The Court held that “the

Act unambiguously establishes the framework for deciding payment disputes,” and that the De-

partments’ QPA presumption “conflict[ed] with the statutory text” and “impermissibly altered the

Act’s requirements” by placing a “thumb on the scale for the QPA.” Id. at *7–8.

       In response to this Court’s ruling, the Departments have now issued a final IDR rule (“Final

Rule”) that replaces their earlier QPA presumption with a new set of requirements that, although

not described by the Departments as a “presumption,” have the same effect. Under these new rules,

arbitrators must always consider the QPA first and may not give any weight to the other circum-

stances Congress required them to consider unless a variety of extrastatutory criteria imposed by

the Departments are met. Like the invalidated QPA presumption, these new rules unlawfully ele-

vate the QPA over the other statutory factors, making the QPA the de facto benchmark rate. And,

like the invalidated QPA presumption, they add material new terms that unlawfully circumscribe




1
  Attached hereto as Exhibits A–D and incorporated herein by reference are plaintiffs’ declarations
in support of this motion.
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the discretion Congress granted arbitrators to choose how to weigh all the relevant facts and cir-

cumstances in determining which party’s offer to select as the appropriate out-of-network rate.

       Unless set aside, these provisions of the Final Rule will unfairly skew IDR results in insur-

ers’ favor, granting them a windfall they were unable to obtain in the legislative process. At the

same time, they will undermine healthcare providers’ ability to obtain adequate reimbursement for

their services, to the detriment of both providers and the patients they serve. Accordingly, for the

reasons discussed below, the Court should vacate the challenged provisions and, this time, remand

with instructions to the Departments to cease seeking to privilege the QPA in the IDR process.

                                 STATEMENT OF THE ISSUE

       The issue presented is whether the challenged provisions of the Final Rule that place a

thumb on the scale for the QPA in the IDR process must be set aside because they exceed the

Departments’ statutory authority, conflict with the statute, and are arbitrary and capricious.

                   STATEMENT OF UNDISPUTED MATERIAL FACTS

       A.      The No Surprises Act

       The NSA creates a comprehensive framework designed to address surprise medical billing,

as well as supplemental requirements imposed on healthcare providers and plans and issuers (col-

lectively, “insurers”) to enhance beneficiary transparency regarding the costs they can expect to

incur for healthcare items and services. The NSA made parallel amendments to the Public Health

Service (“PHS”) Act, enforced by the Department of Health and Human Services (“HHS”); the

Employee Retirement Income Security Act (“ERISA”), enforced by the Department of Labor; and

the Internal Revenue Code (“IRC”), enforced by the Department of the Treasury.2


2
 The relevant statutory and regulatory provisions at issue in this case generally appear in triplicate
and are identical in all material respects. The NSA’s IDR provisions are codified at 42 U.S.C.
§ 300gg-111(c) (PHS Act), 29 U.S.C. § 1185e(c) (ERISA), and 26 U.S.C. § 9816(c) (IRC). For
ease of reference, this brief cites the PHS Act provisions and implementing regulations.
                                                  2
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       The NSA provides that for emergency services furnished by an out-of-network healthcare

provider and non-emergency services furnished by an out-of-network physician (or other

healthcare personnel) at an in-network facility, insurers may not impose a patient cost-sharing

requirement greater than the cost-sharing that would apply had the items or services been furnished

by an in-network provider. 42 U.S.C. § 300gg-111(a)(1)(C)(ii), (b)(1)(A). Patient cost-sharing is

calculated using a “recognized amount.” Id. § 300gg-111(a)(1)(C)(iii), (b)(1)(B). The “recognized

amount” is (1) an amount determined by an applicable All-Payer Model Agreement; (2) if there is

none, the amount determined by a “specified State law,” which is a state law that provides a method

for determining the total amount payable by the patient; or (3) otherwise, the QPA for that item or

service. Id. § 300gg-111(a)(3)(H). For each item or service, the QPA is statutorily defined as gen-

erally being the median of the contracted rates recognized by the insurer in 2019 for the same or

similar item or service furnished by a healthcare provider in the same or similar specialty and in

the same geographic region, with annual inflation adjustments. Id. § 300gg-111(a)(3)(E).

       In addition to limiting patient cost-sharing, the NSA also limits the amount that out-of-

network healthcare providers can bill to patients. For covered services, the NSA prohibits out-of-

network healthcare providers from billing a patient for any amount that exceeds the statutorily

calculated patient cost-sharing amount, unless an exception applies. Instead, the statute obligates

insurers to reimburse out-of-network healthcare providers at the “out-of-network rate” as defined

in statute, less any cost-sharing from the patient. Id. § 300gg-111(a)(1)(C)(iv)(II), (b)(1)(D).

       The “out-of-network rate” is determined through a process similar to that for determining

patient cost-sharing, but with one significant difference. As with patient cost-sharing, healthcare

provider reimbursement is governed by any applicable All-Payer Model Agreement or, if there is




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none, then by any applicable specified state law providing a method for determining out-of-net-

work reimbursement. Id. § 300gg-111(a)(3)(K). But unlike with patient-cost sharing, if there is no

applicable All-Payer Model Agreement or specified state law, Congress declined to set healthcare

provider reimbursement at the QPA or otherwise provide a benchmark or mathematical formula.

Instead, the NSA authorizes insurers to make an initial payment in an amount of their choosing,

and then channels reimbursement disputes through a carefully designed process of open negotia-

tion, followed, if necessary, by binding arbitration before a certified IDR entity.

       The IDR process Congress established in the NSA was the product of extensive congres-

sional deliberation and compromise. During the legislative process, insurers lobbied Congress to

use the QPA as a benchmark rate not just for patient cost-sharing, but also for healthcare provider

reimbursement. Multiple proposed bills would have set out-of-network reimbursement at the QPA

or made the QPA the default payment amount subject to potential adjustment through an arbitra-

tion process only in exceptional circumstances. See, e.g., H.R. 3630, 116th Cong. (2019); S. 1895,

116th Cong. (2019); H.R. 2328, 116th Cong. (2020); H.R. 5800, 116th Cong. (2020).

       Congress, however, ultimately rejected these approaches in favor of an IDR process in

which “both the provider’s offer and the plan’s offer receive equal weight”; the arbitrator “consid-

ers, but isn’t bound by, the plan’s median in-network rate”; and “the provider is not left in a posi-

tion to disprove the adequacy of such a rate.” Neal Opening Statement at Markup of Surprise

Medical Billing, Hospice, and Health Care Investment Transparency Legislation (Feb. 12, 2020)

(statement of House Ways and Means Committee Chairman explaining the bipartisan compromise

that Congress “worked together for many months to craft” to create an IDR process that would




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consider information from both sides without “giving too much weight to … a benchmark rate”);3

see also House Committees on Ways and Means, Energy and Commerce, and Education and La-

bor, Protecting Patients from Surprise Medical Bills (Dec. 21, 2020) (“This text includes NO

benchmarking or rate-setting” and requires arbitrators to “equally consider many factors”).4

         B.      The IDR Process

         The NSA “describe[s] the [IDR] process in meticulous detail.” TMA I, 2022 WL 542879,

at *8. As relevant here, the statute directs each party to submit (1) an offer for a payment amount,

(2) any information requested by the arbitrator relating to the offer, and (3) any additional infor-

mation relating to the offer the party wishes the arbitrator to consider, including information relat-

ing to a list of specifically enumerated statutory factors. 42 U.S.C. § 300gg-111(c)(5)(B), (C)(ii).

         Subparagraph (C), entitled “Considerations in determination,” spells out in specific detail

the factors arbitrators must consider. Id. § 300gg-111(c)(5)(C). In particular, Congress mandated

that arbitrators “shall consider” (1) the QPA for comparable items or services furnished in the same

geographic area, id. § 300gg-111(c)(5)(C)(i)(I); (2) “information on any circumstance described

in clause (ii),” id. § 300gg-111(c)(5)(C)(i)(II); (3) any information the arbitrator requests, id.; and

(4) any additional information submitted by either party relating to its offer, id.

         The aforementioned “clause (ii),” entitled “[a]dditional circumstances,” sets forth five fac-

tors arbitrators must consider: (1) the level of training, experience, and quality and outcomes meas-

urements of the healthcare provider that furnished the item or service, id. § 300gg-

111(c)(5)(C)(ii)(I); (2) the market share of the healthcare provider or payor in the geographic re-

gion where the item or service was provided, id. § 300gg-111(c)(5)(C)(ii)(II); (3) the acuity of the


3
   https://waysandmeans.house.gov/media-center/press-releases/neal-opening-statement-markup-
surprise-medical-billing-hospice-and
4
    https://gop-waysandmeans.house.gov/protecting-patients-from-surprise-medical-bills/
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individual receiving the item or service or the complexity of furnishing such item or service to

such individual, id. § 300gg-111(c)(5)(C)(ii)(III); (4) the teaching status, case mix, and scope of

services of the facility that furnished the item or service, id. § 300gg-111(c)(5)(C)(ii)(IV); and (5)

demonstrations of good faith efforts (or lack of good faith efforts) made by the healthcare provider

or payor to enter into network agreements, and, if applicable, contracted rates between the

healthcare provider and payor during the previous four plan years, id. § 300gg-111(c)(5)(C)(ii)(V).

       In subparagraph (D), Congress further specified three factors that arbitrators “shall not

consider”: (1) usual and customary charges, (2) the amount the healthcare provider would have

billed had the NSA’s provisions regarding balance billing not applied, and (3) the amount that

would have been paid by a public payor, including under Medicare, Medicaid, the Children’s

Health Insurance Program, TRICARE, or 38 U.S.C. § 1701 et seq. Id. § 300gg-111(c)(5)(D).

       After “taking into account the considerations specified” in the statute, the arbitrator must

“select one of the offers submitted … to be the amount of payment” for the item or service at issue.

Id. § 300gg-111(c)(5)(A)(i). If the parties agree to a payment amount before a decision issues, that

payment amount controls. Id. § 300gg-111(c)(2)(B). If not, the arbitrator’s decision is binding

absent a fraudulent claim or evidence of factual misrepresentation. Id. § 300gg-111(c)(5)(E)(i).

       C.      The July Interim Final Rule

       On July 1, 2021, the Departments issued an interim final rule implementing certain of the

NSA’s surprise medical billing requirements. See 86 Fed. Reg. 36,872 (July 13, 2021) (“July

IFR”). Among other provisions, the July IFR sets forth a methodology for how insurers are to

calculate QPAs. See 45 C.F.R. § 149.140. In calculating QPAs, insurers must resolve a number of

issues that require subjective judgment, such as whether providers are in the “same or similar

specialty,” id. § 149.140(a)(12), what is the relevant “insurance market,” id. § 149.140(a)(8), and

what is the relevant “geographic region,” id. § 149.140(a)(7).
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       The July IFR requires insurers to disclose only very limited information about how they

calculated QPAs. Id. § 149.140(d). The information insurers use to calculate QPAs lies solely

within their control, and the required disclosures provide almost no insight into how the insurer

calculated a given QPA or whether the insurer’s calculation complies with the applicable rules.

Although the Departments can audit insurers’ QPA calculations, see 42 U.S.C. § 300gg-111(a)(2),

HHS has stated that it plans to conduct no more than nine audits annually, 86 Fed. Reg. at 36,935.

       There is already evidence of widespread insurer noncompliance with the Departments’

QPA-calculation rules. For example, the Departments recently acknowledged that they “have been

informed” that insurers have not been consistently complying with how the Departments intended

them to determine whether providers are in the “same or similar specialty.” Dep’ts, FAQs about

Affordable Care Act and Consolidated Appropriations Act, 2021 Implementation Part 55 at 16–

17 (Aug. 19, 2022) (“August FAQs”).5 The Departments also stated that they “have been in-

formed” that some insurers “enter $0 in their fee schedule” for certain items and services and

instructed insurers that “$0 does not represent a contracted rate” and thus “plans and issuers should

not include $0 amounts in calculating median contracted rates.” Id. at 17 n.29.

       D.      The September Interim Final Rule

       On September 30, 2021, the Departments released a second interim final rule—at issue in

TMA I—implementing additional provisions of the NSA. 86 Fed. Reg. 55,980 (Oct. 7, 2021). The

September rule required arbitrators to employ a “rebuttable presumption” that the offer closest to

the QPA represented the appropriate reimbursement amount. Id. at 56,056. Specifically, the rule

directed arbitrators to “select the offer closest to the [QPA]” unless they “determine[d] that credi-




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             https://www.dol.gov/sites/dolgov/files/EBSA/about-ebsa/our-activities/resource-cen-
ter/faqs/aca-part-55.pdf.
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ble information submitted by either party … clearly demonstrate[d] that the [QPA] [was] materi-

ally different from the appropriate out-of-network rate.” Id. at 56,104. If the arbitrator did select

the offer farther from the QPA, it was required to provide in its written decision “a detailed expla-

nation” justifying its decision to reject the offer closer to the QPA, including a description of the

“basis upon which the certified IDR entity determined that the credible information demonstrated

that the QPA [was] materially different from the appropriate out-of-network rate.” Id. at 56,000.

        The Departments identified no statutory text creating these requirements. Instead, they as-

serted that the statute was “best interpret[ed]” to impose the QPA presumption because, e.g., “[t]he

statutory text lists the QPA as the first factor,” id. at 55,996, and information on the other statutory

factors would often “already be reflected in the QPA,” id. at 55,997. The Departments also cited

various “policy considerations” for “[a]nchoring” the payment amount to the QPA, which they

believed would “increase the predictability of IDR outcomes” and “encourage parties to reach an

agreement outside of the Federal IDR process to avoid the administrative costs.” Id. at 55,996.

        E.      This Court’s Decision in TMA I

        In TMA I, this Court vacated the September rule’s provisions imposing the QPA presump-

tion. 2022 WL 542879, at *1, *15. Those rules, the Court held, unlawfully added decisionmaking

requirements not found in the NSA and imposed extrastatutory limits on arbitrators’ discretion.

        The Court decided first that the “Departments’ interpretation of the statute” was “owed no”

deference because the NSA already “sp[eaks] clearly on the issue relevant here” by “unambigu-

ously establish[ing] the framework for deciding payment disputes.” Id. at *7–8. In mandating that

arbitrators “shall consider” statutory factors, 42 U.S.C. § 300gg-111(c)(5)(C)(i), the Court ex-

plained, the NSA “plainly requires arbitrators to consider all the specified information in deter-

mining which offer to select.” TMA I, 2022 WL 542879, at *7. And the NSA does not “instruc[t]



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arbitrators to weigh any one factor or circumstance more heavily than the others” or “suggest an-

ywhere that the other factors or information is less important than the QPA.” Id. at *8.

         The Court held that the Departments had “impermissibly altered” these clear statutory re-

quirements by “treating the QPA as the default payment amount and imposing on any party at-

tempting to show otherwise a heightened burden of proof that appears nowhere in the statute.” Id.

at *8–9 (cleaned up). The Court rejected as “unpersuasive” the Departments’ defense that the

“overall statutory scheme supports” elevating the QPA over the other factors. Id. at *8 (cleaned

up). Rather than “restrict[ing] arbitrators’ discretion and limit[ing] how they could consider the

other factors,” the Court reasoned, the NSA “‘clearly sets forth a list of considerations and does

not dictate a procedure’ or a ‘procedural order for [those] considerations.’” Id. (quoting Mo.-Kan.-

Tex. R.R. Co. v. United States, 632 F.2d 392, 412 (5th Cir. 1980)). The Court thus concluded that

the Departments’ “thumb on the scale” for the QPA “‘rewr[ote] clear statutory terms’” and was

unlawful. Id. at *8–9 (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014)).

         The Court further held that the Departments had violated the APA’s notice-and-comment

requirement in issuing the September rule and that this failure “provide[d] a second and independ-

ent basis” to invalidate the challenged provisions of the rule. Id. at *14.

         In light of these infirmities, and after rejecting the Departments’ requests for remand with-

out vacatur or vacatur as applied only to plaintiffs, the Court vacated the provisions of the rule

creating the presumption in favor of the QPA. Id. at *14–15.6

         F.      The Final Rule

         On August 19, 2022, the Departments released the Final Rule at issue here. It was published

in the Federal Register on August 26, 2022, becomes effective on October 25, 2022, 87 Fed. Reg.


6
    The Court also rejected challenges to plaintiffs’ standing. TMA I, 2022 WL 542879, at *4–6.

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52,618, and applies to items and services provided or furnished on or after that date, id. at 52,632.

As relevant here, the Final Rule “remove[s] from the regulations the language vacated” in TMA I,

id. at 52,625, but replaces those provisions with new requirements arbitrators must follow in con-

sidering the statutory factors, selecting an offer, and issuing their decisions.7

       The Final Rule requires arbitrators to start by “consider[ing] the [QPA] for the applicable

year for the same or similar item or service.” 45 C.F.R. § 149.510(c)(4)(iii)(A). Only after the

arbitrator has looked to the QPA, may the arbitrator “then consider information submitted by a

party” concerning the other statutory circumstances. Id. § 149.510(c)(4)(iii)(B) (emphasis added).

Although the statute does not prescribe a procedural order for considering the factors, the Depart-

ments determined that requiring arbitrators to begin with the QPA was “reasonable” because it is

listed first and “must be a quantitative figure,” whereas “the information received related to the

additional circumstances … will often be qualitative and open to subjective evaluation.” 87 Fed.

Reg. at 52,627. The Departments failed to mention that other statutory circumstances may also

include quantitative figures such as the “contracted rates between the provider or facility … and

the plan or issuer … during the previous 4 plan years,” 42 U.S.C. § 300gg-111(c)(5)(C)(ii)(V), or

other information relating to the offer such as contracted rates or historical allowed amounts agreed

upon with other plans or issuers in the same geographic area for the same or similar item or service.




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  The Final Rule also imposes an additional QPA-disclosure requirement on insurers. Under the
Rule, when a QPA is calculated “based on a downcoded service code or modifier”—that is, one
“alter[ed]” by an insurer to a new code “associated with a lower [QPA] than the service code or
modifier billed by the provider”—the insurer must disclose the following information: (1) a state-
ment that the code was downcoded; (2) an explanation of why the claim was downcoded, including
a description of which codes were altered; and (3) the amount that the QPA would have been if
the insurer had not downcoded. 87 Fed. Reg. at 52,652.
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       In addition to permitting arbitrators to consider any other information only after having

first considered the QPA, the Final Rule also imposes a number of other extrastatutory criteria that

must be satisfied before arbitrators may give weight to any information other than the QPA:

               In weighing the considerations described in paragraphs (c)(4)(iii)(B)
               through (D) of this section [i.e., all the information submitted to the
               arbitrator except the QPA], the certified IDR entity should evaluate
               whether the information is credible and relates to the offer submitted
               by either party for the payment amount for the qualified IDR item
               or service that is the subject of the payment determination. The cer-
               tified IDR entity should not give weight to information to the extent
               it is not credible, it does not relate to either party’s offer for the pay-
               ment amount for the qualified IDR item or service, or it is already
               accounted for by the qualifying payment amount under paragraph
               (c)(4)(iii)(A) of this section or other credible information under par-
               agraphs (c)(4)(iii)(B) through (D) of this section.

45 C.F.R. § 149.510(c)(4)(iii)(E).

       The Final Rule thus forbids arbitrators to give weight to any information other than the

QPA unless three requirements are met. First, before giving weight to any other information, the

arbitrator must determine that it is “credible,” i.e., “that upon critical analysis [it] is worthy of

belief and is trustworthy.” Id. § 149.510(a)(2)(v). The Departments exempted the QPA from this

requirement on the ground that the July IFR’s requirements provided sufficient assurance of cred-

ibility, even though the Departments recognized that the QPA would be credible only “to the extent

[it] is calculated in a manner consistent with the detailed rules issued under the [July IFR], and is

communicated in a way that satisfies the applicable disclosure requirements.” 87 Fed. Reg. at

52,627. Although the Departments required arbitrators to verify the credibility of all other infor-

mation, they emphasized that it is not the arbitrator’s “responsibility” to “monitor the accuracy of

the plan or issuer’s QPA calculation methodology.” Id. at 52,627 n.31. The Departments did not

grapple with the reality that the QPA will generally be an unaudited number calculated by the

insurer and that neither the Departments, providers, nor arbitrators will have visibility into whether


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the QPA was calculated consistent with the July IFR’s “detailed rules.” Nowhere, for example, did

the Departments acknowledge, as they had in the August FAQs, that insurers were failing to com-

ply with certain of the Departments’ requirements for calculating QPAs. See supra, at 7.

       Second, arbitrators must evaluate all information—again, except the QPA—to determine

whether it “relates to the offer[s] submitted.” 45 C.F.R. § 149.510(c)(4)(iii)(E). Arbitrators may

not “give weight to” any other information—including information on the “additional circum-

stances” that Congress mandated arbitrators “shall consider” in every case, 42 U.S.C. § 300gg-

111(c)(5)(C)(ii)—if it “does not relate to either party’s offer.” 45 C.F.R. § 149.510(c)(4)(iii)(E).

Although the statute makes clear that the “additional circumstances” listed in subsection (C)(ii)

always relate to the party’s offer, 42 U.S.C. § 300gg-111(c)(5)(B)(ii), the Final Rule prohibits

arbitrators from giving weight to any of these factors if the information does not meet the Depart-

ments’ “related to” test. Thus, for example, although the statute expressly requires arbitrators to

consider the provider’s level of training and experience, id. § 300gg-111(c)(5)(C)(ii)(III), the Final

Rule prohibits arbitrators from giving weight to this factor unless “the provider’s level of training

and experience was necessary for providing” the service at issue or “the training or experience

made an impact on the care that was provided,” 45 C.F.R. § 149.510(c)(4)(iv)(B).

       Third, arbitrators may not “give weight to” any information other than the QPA to the

extent the information is “already accounted for by the [QPA].” Id. § 149.510(c)(4)(iii)(E). Thus,

for example, although the statute expressly requires arbitrators in every case to consider patient

acuity and the complexity of furnishing the item or service at issue, 42 U.S.C. § 300gg-

111(c)(5)(C)(ii)(III), the Final Rule prohibits arbitrators from giving any weight to these factors if

“the additional information on the acuity of the patient and complexity of the service is already

accounted for in the calculation of the [QPA],” 45 C.F.R. § 149.510(c)(4)(iv)(C)(2). Relatedly, if



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the arbitrator does give weight to any information other than the QPA, it has an additional explan-

atory burden: its “written decision must include an explanation of why” it “concluded that this

information was not already reflected” in the QPA. Id. § 149.510(c)(4)(vi)(B).

       The Departments asserted that these requirements are warranted because “in many cases,

the additional factors for the certified IDR entity to consider other than the QPA will already be

reflected in the QPA,” and “giving additional weight to information that is already incorporated

into the calculation of the QPA would be redundant, possibly resulting in the selection of an offer

that does not best represent the value of the qualified IDR item or service and potentially over time

contributing to higher health care costs.” 87 Fed. Reg. at 52,629. The Departments did not explain

how arbitrators or healthcare providers would be able to determine whether the QPA already ac-

counts for another piece of information submitted by the parties, given that the QPA is a figure

calculated in secret by the insurer and is transparent to the insurer alone, and the arbitrator is pro-

hibited from requiring the insurer to show that it calculated the relevant QPA consistent with the

Departments’ methodology. See 87 Fed. Reg. at 52,627 n.31; see also August FAQs at 16 (“[P]lans

and issuers are not obligated to demonstrate that a QPA was calculated in accordance with the

requirements of … 45 CFR 149.140(c) unless required to do so by an applicable regulator.”).

       Thus, under the Final Rule, the QPA “will be relevant to a payment determination” and

must be considered first “in all cases.” 87 Fed. Reg. at 52,627. But information on the other factors

Congress required arbitrators to consider must be disregarded unless it satisfies extrastatutory cri-

teria imposed by the Departments. And not only must the QPA be considered first, it is the lens

through which all other information must be viewed. According to the Departments, the QPA “will




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aid certified IDR entities in their consideration of each of the other statutory factors, as these enti-

ties will then be in a position to evaluate whether the ‘additional’ factors present information that

may not have already been captured in the calculation of the QPA.” Id. at 52,628.

                                      LEGAL STANDARDS

       Summary judgment is proper “if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a).

“In the context of a challenge under the APA, ‘[s]ummary judgment is the proper mechanism for

deciding, as a matter of law, whether an agency action is supported by the administrative record

and consistent with the APA standard of review.’” Texas v. EPA, 389 F. Supp. 3d 497, 503 (S.D.

Tex. 2019) (quoting Blue Ocean Inst. v. Gutierrez, 585 F. Supp. 2d 36, 41 (D.D.C. 2008)); see,

e.g., Gulf Fishermens Ass’n v. Nat’l Marine Fisheries Serv., 968 F.3d 454, 459–60 (5th Cir. 2020).

Under the APA, courts will “hold unlawful and set aside” agency action that is “arbitrary, capri-

cious, an abuse of discretion, or otherwise not in accordance with law,” 5 U.S.C. § 706(2)(A), or

“in excess of statutory jurisdiction, authority, or limitations,” id. § 706(2)(C).

       In assessing an agency’s statutory interpretation, courts must first determine whether Con-

gress authorized the agency “to speak with the force of law” with regard to the issue at hand.

United States v. Mead Corp., 533 U.S. 218, 229 (2001). If so, then courts evaluate the agency’s

interpretation under Chevron, U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S.

837 (1984). Under Chevron, courts “must give effect to the unambiguously expressed intent of

Congress,” id. at 842–43, deferring to the agency’s interpretation only if “the statute is ‘truly am-

biguous’ on the question” at hand and the agency’s interpretation is a “permissible construction,”

Gulf Fishermens Ass’n, 968 F.3d at 460. Here, as discussed below, the challenged provisions are

not entitled to Chevron deference, both because the statute unambiguously precludes the Depart-

ments’ rules and because the rules are not a permissible construction of the NSA.
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        “The APA’s arbitrary-and-capricious standard requires that agency action be reasonable

and reasonably explained.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). Alt-

hough this standard is deferential and a court must not “substitute” its own “policy judgment for

that of the agency,” id., arbitrary-and-capricious review “is not toothless,” Sw. Elec. Power Co. v.

EPA, 920 F.3d 999, 1013 (5th Cir. 2019). “In fact, … it has serious bite.” Wages & White Lion

Invs., LLC v. FDA, 16 F.4th 1130, 1136 (5th Cir. 2021). Agency action must be set aside if the

agency “entirely failed to consider an important aspect of the problem, offered an explanation for

its decision that runs counter to the evidence before the agency, or is so implausible that it could

not be ascribed to a difference in view or the product of agency expertise.” Motor Vehicle Mfrs.

Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Further, a court cannot uphold a

rule based on grounds not given by the agency in the rule. See SEC v. Chenery Corp., 318 U.S. 80,

87 (1943); Dish Network Corp. v. NLRB, 953 F.3d 370, 379–80 (5th Cir. 2020).

                                            ARGUMENT

        The challenged provisions of the Final Rule exceed the Departments’ statutory authority

and conflict with the NSA for three reasons. First, the NSA’s detailed and comprehensive instruc-

tions leave no room for the Departments to promulgate rules restricting arbitrators’ discretion to

weigh the statutory factors as they see fit in light of all the facts and circumstances of a given case.

Second, even if they did, the challenged provisions conflict with the statute’s unambiguous terms

and thus fail at Chevron step one. And third, the challenged provisions also fail at Chevron step

two because, in making the QPA the de facto benchmark for out-of-network reimbursement, they

do not permissibly interpret or implement the IDR process Congress created in the NSA. Sepa-

rately, the Final Rule is arbitrary and capricious because, in multiple respects, it flunks the APA’s

fundamental requirements of reasoned decisionmaking. Accordingly, the challenged provisions of

the Final Rule should be vacated and—given the Departments’ repeated attempts to elevate the
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QPA in violation of the statute and this Court’s decision in TMA I—remanded with instructions to

the Departments to cease seeking to privilege the QPA in the IDR process.

I.     The Final Rule Exceeds The Departments’ Statutory Authority Under The NSA And
       Is Not In Accordance With Law.

       A.      The NSA leaves no room for the Departments to promulgate rules restricting
               arbitrators’ discretion to weigh the statutory factors.

       The challenged provisions must be set aside, first, because the NSA’s directions to arbitra-

tors regarding the determination of the payment amount are complete and leave no room for the

Departments to impose restrictions on arbitrators’ discretion to weigh the statutory factors. In au-

thorizing the Departments to promulgate rules implementing the IDR process, Congress provided

that, under those rules, arbitrators would “determin[e]” the payment amount “in accordance with

the succeeding provisions of this subsection.” 42 U.S.C. § 300gg-111(c)(2)(A). In those “succeed-

ing provisions,” Congress itself provided all the guidance it deemed necessary with respect to

arbitrators’ decisional process and the selection of the offer to be applied as the out-of-network

rate. And, as this Court has already held, those provisions are “unambiguous.” TMI I, 2022 WL

542879, at *7. The Departments may not alter or add to them, under the guise of “interpretation”

or otherwise. See id. at *9 (holding that the Departments violated the statute by “add[ing] key

words not in the statute” and “impermissibly ‘rewrit[ing] statutory language by ascribing addi-

tional, material terms’” (quoting Texaco Inc. v. Duhe, 274 F.3d 911, 920 (5th Cir. 2001)).

       Several factors reinforce this conclusion. First, “Congress described the arbitration process

in meticulous detail.” Id. at *8. In a section entitled “Considerations in determination,” Congress

painstakingly enumerated the facts and circumstances arbitrators must consider “[i]n determining

which offer is the payment to be applied.” 42 U.S.C. § 300gg-111(c)(5)(C)(i). Congress then di-

rected arbitrators to “select one of the offers submitted” after “taking into account th[ose] consid-

erations.” Id. § 300gg-111(c)(5)(A)(i). And Congress further specified factors that arbitrators may

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not consider “[i]n determining which offer is the payment to be applied.” Id. § 300gg-111(c)(5)(D).

Especially in a statute this detailed and prescriptive, if Congress had wanted to provide additional

instructions to arbitrators regarding the weighing of the factors or “to restrict arbitrators’ discretion

and limit how they could consider the other [non-QPA] factors, it would have said so.” TMA I,

2022 WL 542879, at *7; see also Nat’l Pork Producers Council v. EPA, 635 F.3d 738, 753 (5th

Cir. 2011) (holding that agency lacked authority “to create from whole cloth” new provisions sup-

plementing a comprehensive statutory scheme).

        Second, in numerous other provisions of the statute addressing the IDR process, Congress

expressly left gaps for the Departments to fill.8 In marked contrast, Congress did not assign the

Departments any role in dictating how arbitrators should weigh the statutory factors or determine

which party’s offer to select. See Russello v. United States, 464 U.S. 16, 23 (1983) (“[W]here

Congress includes particular language in one section of a statute but omits it in another … it is

generally presumed that Congress acts intentionally.”). Congress instead directed arbitrators to


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  See 42 U.S.C. § 300gg-111(c)(1)(B) (the notification initiating the IDR process must contain
“such information as specified by the Secretary” and the process begins upon submission of the
notification or “such other date specified by the Secretary”); id. § 300gg-111(c)(3)(A) (“[T]he
Secretary shall specify criteria under which multiple qualified IDR dispute items and services are
permitted to be considered jointly as part of a single determination….”); id. § 300gg-
111(c)(3)(A)(iv) (batched items and services must be furnished during a 30-day period “or an al-
ternative period as determined by the Secretary”); id. § 300gg-111(c)(3)(B) (“the Secretary shall
provide” for the treatment of bundled payments); id. § 300gg-111(c)(4)(A) (“[t]he Secretary …
shall establish a process to certify” IDR entities); id. § 300gg-111(c)(4)(A)(vii) (the IDR entity
must meet specified requirements and “such other requirements as determined appropriate by the
Secretary”); id. § 300gg-111(c)(4)(F) (“[t]he Secretary shall … provide for a method” for selecting
a certified IDR entity); id. § 300gg-111(c)(7)(C) (to be certified, IDR entities must “submit to the
Secretary such information as the Secretary determines necessary to carry out the provisions of
this subsection”); id. § 300gg-111(c)(7)(D) (“[t]he Secretary shall ensure the public reporting”
does not disclose privileged or confidential information); id. § 300gg-111(c)(8)(A) (fees for par-
ticipating in the IDR process shall be paid “at such time and in such manner as specified by the
Secretary”); id. § 300gg-111(c)(8)(B) (the amount of the fee is to be “an amount established by
the Secretary”); id. § 300gg-111(c)(9) (“[t]he Secretary may modify” deadlines or timing require-
ments “in cases of extenuating circumstances, as specified by the Secretary”).

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decide cases “in accordance with the succeeding provisions of this subsection,” 42 U.S.C. § 300gg-

111(c)(2)(A), and “pursuant to this paragraph,” id. § 300gg-111(c)(5)(C)(i), without any hint that

implementing regulations on the weighing of the factors were needed. They are not needed: “The

remaining provisions of [the Departments’ rules] and the Act itself provide a sufficient framework

for providers and insurers to resolve payment disputes.” TMA I, 2022 WL 542879, at *14.

       Third, Congress enacted the NSA against a backdrop of longstanding case law holding that

when a statute sets forth a list of factors for a decision maker to consider without dictating how

they are to be weighed, the weighing of the factors is left to the decision maker’s sound discretion.

See, e.g., New York v. Reilly, 969 F.2d 1147, 1150 (D.C. Cir. 1992) (“Because Congress did not

assign the specific weight the Administrator should accord each of these factors, the Administrator

is free to exercise his discretion in this area.”); Ramirez v. ICE, 471 F. Supp. 3d 88, 176 (D.D.C.

2020) (“[I]f Congress did not mandate any particular structure or weight for an agency’s consid-

eration of a variety of factors, then the agency is left with discretion to decide how to account for

the consideration factors, and how much weight to give each factor.” (cleaned up)). “Congress

legislates against the backdrop of existing law.” McQuiggin v. Perkins, 569 U.S. 383, 398 n.2

(2013). And existing law makes clear that when Congress directed arbitrators to “tak[e] into ac-

count,” 42 U.S.C. § 300gg-111(c)(5)(A)(i), and “consider” the statutory factors, id. § 300gg-

111(c)(5)(C), without assigning weights or prescribing a decisional structure, it authorized arbitra-

tors to exercise their discretion in weighing the statutory factors. By robbing arbitrators of the

discretion Congress granted them, the Departments’ rules violate the statute.

       B.      The Final Rule conflicts with the NSA’s unambiguous terms.

       Even if the Departments have some authority to adopt rules restricting arbitrators’ discre-

tion, the challenged provisions are unlawful because they “rewrite clear statutory terms to suit” the

Departments’ “own sense of how the statute should operate.” TMA I, 2022 WL 542879, at *8
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(quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 328 (2014)). Under the new requirements,

arbitrators must consider the QPA first and cannot give any weight to the other circumstances

Congress required them to consider unless they determine that a variety of extrastatutory criteria

are met. These aspects of the Final Rule unlawfully transform the IDR process Congress created

by dictating decisionmaking procedures for arbitrators that Congress chose not to adopt, by con-

straining arbitrators’ ability to consider information that Congress mandated they take into ac-

count, and, ultimately, by placing an administrative thumb on the scale for the QPA.

       To start, the Departments cannot require arbitrators to consider the QPA first or otherwise

command them to make the QPA the starting point of the analysis. See 45 C.F.R.

§ 149.510(c)(4)(iii)(A)–(B) (requiring arbitrators to “consider the [QPA]” and “then consider in-

formation submitted by a party” concerning the other statutory circumstances (emphasis added)).

The NSA “‘clearly sets forth a list of considerations and does not dictate a procedure’ or a ‘proce-

dural order’” for evaluating them. TMA I, 2022 WL 542879, at *7–8 (quoting Mo.-Kan.-Tex. R.R.

Co. v. United States, 632 F.2d 392, 412 (5th Cir. 1980)). Indeed, Congress knew how to prescribe

the exact decisionmaking procedure the Final Rule requires—looking to one statutory factor and

then to another. See Ramirez, 471 F. Supp. 3d at 176 (discussing 8 U.S.C. § 1232(c)(2)(B), which

instructs the agency to “consider placement ... after taking into account” other factors). But Con-

gress “chose not to do so.” Little Sisters of the Poor Saints Peter & Paul Home v. Pennsylvania,

140 S. Ct. 2367, 2380 (2020); see also Rotkiske v. Klemm, 140 S. Ct. 355, 360–61 (2019) (“Atex-

tual judicial supplementation is particularly inappropriate when, as here, Congress has shown that

it knows how to adopt the omitted language or provision.”). By adding a material “limitation not

found in the statute,” the Departments unlawfully “alter[ed]” the NSA’s clear terms. Little Sisters,

140 S. Ct. at 2381; see also TMA I, 2022 WL 542879, at *8.



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       That the QPA is the “first-listed statutory factor” does not license this requirement. 87 Fed.

Reg. at 52,628. The Departments still “cite no authority holding that a statutory factor” must be

considered first or given “more weight simply because it is the first in a list.” TMA I, 2022 WL

542879, at *8. An interpretive canon requiring statutory factors to be considered in the listed order

would be not only unprecedented, but nonsensical. Under the Departments’ logic, by placing the

provider’s level of training and experience first among the “additional circumstances” arbitrators

must consider, Congress implicitly told arbitrators to start there and then move in order through

the other circumstances. And because prior contracted rates between the provider and the insurer

are listed last, arbitrators would have to consider that information last. The statute, of course, re-

quires none of this. If Congress had wanted to assign priority to factors based on their order or to

prescribe a procedural order for their consideration, it would have said so.

       The obvious intent and effect of the Departments’ QPA-first rule is to elevate the QPA and

subordinate the other factors, even though the statutory structure places the other factors on par

with the QPA. See 42 U.S.C. § 300gg-111(c)(5)(C)(i)(I) (QPA), (II) (other information); see also

87 Fed. Reg. at 52,628 (stating that looking to the QPA first “will aid [arbitrators] in their consid-

eration of each of the other statutory factors”). By making the QPA the reference point and the

lens through which all other information must be viewed, the Final Rule aims to influence how

arbitrators view other information before them and to increase the likelihood that the arbitrator

will select the offer closer to the QPA. Cf. United States v. Mecham, 950 F.3d 257, 268 (5th Cir.

2020) (recognizing that a sentencing guidelines range may have an “anchoring effect” on the ulti-

mate sentence imposed). But the statute “nowhere states that the QPA is the primary or most im-

portant factor.” TMA I, 2022 WL 542879, at *8 (internal quotation marks omitted).




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       Also unlawful are the Final Rule’s provisions ordering arbitrators not to give any weight

to information other than the QPA unless that information satisfies a variety of extrastatutory cri-

teria. See 45 C.F.R. § 149.510(c)(4)(iii)(E). The other statutory factors are not mere “‘permissible

additional factors’ that may be considered only ‘when appropriate.’” TMA I, 2022 WL 542879, at

*8 (emphasis omitted) (quoting 86 Fed. Reg. at 56,080). To the contrary, Congress mandated that

arbitrators “shall consider” this other information—no ifs, ands, or buts. See id. at *7 (“The Act

plainly requires arbitrators to consider all the specified information in determining which offer to

select.” (emphasis added)). The Departments cannot rewrite Congress’s instructions to add

“heightened burden[s]” on these other statutory factors or to otherwise “restrict arbitrators’ discre-

tion and limit how they [can] consider the other factors.” See id. at *8.

       The Departments therefore lack authority to adopt their rule forbidding arbitrators to give

weight to information, including information relating to the “additional circumstances,” to the ex-

tent the information is “already accounted for” in the QPA. 45 C.F.R. § 149.510(c)(4)(iii)(E). Con-

gress did not prohibit arbitrators from attaching repeated or extra significance to a piece of infor-

mation just because it bears on more than one statutory factor. Nor did Congress permit an arbi-

trator to disregard information on the statutory factors because the arbitrator believes that infor-

mation was an input into the QPA calculation. The Departments invented these limitations from

“whole cloth.” Nat’l Pork Producers Council, 635 F.3d at 753.

       Worse, the Departments’ instruction to arbitrators to ignore information if it is accounted

for in the QPA directly conflicts with Congress’s own instructions. The statute tells arbitrators to

consider the “additional circumstances” and other information submitted by the parties relating to

their offers in addition to the QPA. 42 U.S.C. § 300gg-111(c)(5)(C)(i)(II). Congress mandated this

knowing full well that those circumstances may encompass the same or similar information as the



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QPA, which is defined elsewhere in the same statute. See id. § 300gg-111(a)(3)(E)(i). Demanding

a showing that information was not accounted for in the QPA before it may be given weight thus

squarely conflicts with the statutory text and “impos[es] a heightened burden on the remaining

statutory factors” that Congress itself chose not to impose. TMA I, 2022 WL 542879, at *8.

       This burden is amplified by the accompanying explanation requirement, which disincen-

tivizes arbitrators from giving weight to any information other than the QPA. Under the Final Rule,

if an arbitrator does give weight to any other information, it must explain why it “concluded that

th[e] information was not already reflected” in the QPA. 45 C.F.R. § 149.510(c)(4)(iv)(B). Given

that the QPA is calculated unilaterally by the insurer and that neither providers nor arbitrators have

meaningful visibility into the figure, this is no easy task. The obvious effect of this explanation

requirement and of the Departments’ restriction on considering information other than the QPA is

to privilege the QPA over the remaining factors Congress decided arbitrators must consider.

       The Departments’ lopsided credibility test is another impermissible thumb on the scale in

favor of the QPA. The Final Rule requires arbitrators to evaluate the credibility of any information

presented to them—except the QPA—and forbids them to “give weight to information to the extent

it is not credible.” 45 C.F.R. § 149.510(c)(4)(iii)(E). However, while an evenhanded credibility

requirement would not be cause for concern (surely arbitrators will not give weight to information

they deem noncredible), nothing in the statute indicates that arbitrators should look at the QPA

through rose-colored glasses while viewing all other information critically. Instructing arbitrators

to “treat one of the … statutory factors” in a “different fashion” than the others by exempting it

from an otherwise applicable threshold test “distorts the judgment Congress directed” arbitrators

to “make [in] each” dispute. Am. Corn Growers Ass’n v. EPA, 291 F.3d 1, 6 (D.C. Cir. 2002).




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       The Departments also plainly lack authority to order arbitrators to ignore information on

the “additional circumstances” if the information does not “relate to” a party’s offer. 45 C.F.R.

§ 149.510(c)(4)(iii)(E). The NSA mandates, without qualification, that arbitrators “shall consider”

“information on any circumstance described in clause (ii)”—that is, the “additional circum-

stances.” 42 U.S.C. § 300gg-111(c)(5)(C)(i). By instructing arbitrators to weigh “information on”

those “additional circumstances” only to the extent that information “relates to” a party’s offer, the

Final Rule blatantly “introduce[s] a limitation” into the statute’s unqualified mandate that infor-

mation on those circumstances must be considered. Little Sisters, 140 S. Ct. at 2381.

       Indeed, the statute makes unambiguously clear that information on the “additional circum-

stances” always relates to a party’s offer. Congress authorized parties to submit “any information

relating to” their offers, “including information relating to any circumstance described in subpar-

agraph (C)(ii)”—that is, the “additional circumstances.” 42 U.S.C. § 300gg-111(c)(5)(B)(ii) (em-

phasis added). The word “including” signals that the items that follow are an “illustrative applica-

tion of the general” category described before it. Fed. Land Bank of St. Paul v. Bismarck Lumber

Co., 314 U.S. 95, 100 (1941); see also DIRECTV, Inc. v. Budden, 420 F.3d 521, 527 (5th Cir.

2005) (defining “includes” to mean “made up of, at least in part; contain”). So Congress deemed

“information relating to any” of the “additional circumstances” to be an “illustrative application”

of “information relating to [an] offer submitted by either party.” 42 U.S.C. § 300gg-

111(c)(5)(B)(ii). The Departments’ requirement that arbitrators ignore some subset of the infor-

mation on the “additional circumstances” as purportedly unrelated to a party’s offer directly con-

flicts with Congress’s judgment as reflected in the plain statutory text.




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        In all but name, the Final Rule imposes an unlawful presumption that the offer closest to

the QPA is the appropriate payment amount. Like the presumption invalidated in TMA I, the De-

partments’ new requirements clearly and impermissibly communicate that the QPA is the most

important statutory factor and should be given outsized weight. And they mandate that only the

QPA be given weight, unless the other information before the arbitrator meets “a heightened bur-

den of proof that appears nowhere in the statute.” TMA I, 2022 WL 542879, at *8. But because

Congress did not make the QPA the “most important factor” or “impose … a presumption that the

offer closest to the QPA should be chosen,” the Departments may not add these features into the

statute by administrative decree. Id. at 8 (internal quotation marks omitted).

        C.      The Final Rule is not a permissible interpretation of the Act.

        Even if the challenged provisions were not expressly foreclosed by the statute, they are

unlawful because they do not reasonably construe the NSA and “do not reasonably effectuate Con-

gress’s intent.” Texas v. United States, 497 F.3d 491, 506, 509 (5th Cir. 2007) (invalidating agency

action that “constitute[d] an unreasonable interpretation of Congress’s intent”).

        As just discussed, although Congress intended for the QPA to be just one input alongside

others and nowhere signaled that the QPA should be granted special treatment, the Departments

have created a de facto presumption in favor of the QPA. To reiterate, the Departments have en-

sured that the QPA, because it must always be considered first, will color how arbitrators view all

of the other information before them. When the arbitrator does turn to information on the other

statutory factors, it cannot consider that information as it sees fit. Instead, the arbitrator must begin

by evaluating whether the information satisfies threshold tests concocted by the Departments. And

even if the arbitrator deems information to be “credible” and “relevant to” a party’s offer, the

arbitrator is still forbidden from giving that information any weight unless it determines that the



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information is not already accounted for by the QPA, a figure into which arbitrators lack full in-

sight. If the information does clear this difficult obstacle, the arbitrator must explain why in writ-

ing. This administratively engineered thumb on the scale for the QPA does not permissibly imple-

ment the NSA’s text and structure. See Sw. Elec., 920 F.3d at 1029 (setting aside regulation “based

on an impermissible interpretation” of governing statute).

       Nor do the challenged provisions “represen[t] a reasonable accommodation” of the “poli-

cies that were committed to the agenc[ies’] care by the statute.” Texas, 497 F.3d at 506 (quoting

Chevron, 467 U.S. at 845). Congress carefully contemplated the role the QPA should play in de-

termining healthcare provider reimbursement. Legislators assessed various approaches, including

making the QPA the out-of-network reimbursement rate in all cases or making the QPA the default

payment amount. See supra, at 4–5 . But after extensive deliberation, Congress rejected these op-

tions in favor of an IDR process that “includes NO benchmarking or rate-setting” and requires

arbitrators to “equally consider many factors.” House Committees on Ways and Means, Energy

and Commerce, and Education and Labor, supra. It is plainly unreasonable for the Departments

now to impose requirements that make the QPA the de facto benchmark or primary factor in the

IDR process. See Chamber of Commerce v. Dep’t of Lab., 885 F.3d 360, 385 (5th Cir. 2018) (find-

ing rule “unreasonable” because it “outflank[ed]” congressional efforts to regulate in a different

manner); Mexichem Fluor, Inc. v. EPA, 866 F.3d 451, 459 (D.C. Cir. 2017) (holding rule unlawful

where Congress “contemplated giving” the agency authority it claimed but “ultimately declined”).

       In short, instead of respecting Congress’s decision to balance the interests of healthcare

providers and insurers as appropriate in light of all relevant facts in each case, the purpose and

effect of the Departments’ new requirements is to push arbitrators to select the offer closest to the

QPA in most cases. The Final Rule thus unmistakably skews IDR results in favor of insurers,



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whose offers will almost always be closer to the QPA because it is a figure over which insurers

“hold ultimate power.” TMA I, 2022 WL 542879, at *2. The Departments may not lawfully rig the

IDR process in this way. See Texas, 497 F.3d at 506 (invalidating as unreasonable rule that

“stacked” administrative procedure “against the objective interest-balancing Congress intended

and create[d] the strong impression of a biased mediation process”).

II.    The Final Rule Is Arbitrary And Capricious.

       The challenged provisions of the Final Rule conflict with the statute and should be set aside

on that ground alone. They are also independently unlawful because they are not the product of

the reasoned decisionmaking the APA requires. The Departments ignored significant problems

with each of the provisions and otherwise failed to reasonably explain their new requirements.9

       First, the Departments’ attempt to justify their requirement to consider the QPA first is

plainly deficient. They observed that the QPA “is the first-listed statutory factor,” 87 Fed. Reg. at

52,628, but, as discussed, no interpretive canon holds that when Congress lists a statutory factor

first, that factor should be treated differently or considered before other factors. The Departments

also noted that the QPA is a “quantitative figure, like the offers that will be submitted in a payment

determination,” and argued that the QPA “will be unlike the information received related to the

additional circumstances, which will often be qualitative and open to subjective evaluation.” Id. at

52,627. But the Departments nowhere explained why the other quantitative figures that may be

submitted by the parties, such as prior contracted rates between the provider and the insurer or

other relevant data points submitted under subsection (C)(5)(B)(ii), are inferior to or more “sub-

jective” than the QPA. Moreover, the Departments offered no reason why quantitative information



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  Because of the substantial overlap between Chevron step two and the APA’s arbitrary-and-ca-
pricious standard, see Sw. Elec., 920 F.3d at 1028–29, the points in this section are also relevant
to whether the Final Rule permissibly implements the NSA, and further confirm that it does not.
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is better than qualitative information. And there is little reason to think it should be in a scheme

that grants arbitrators discretion to weigh various types of information in light of all the circum-

stances in each case and select one of the parties’ competing offers. The Departments’ QPA-first

requirement is arbitrary because it is unfounded and illogical. See Sw. Elec., 920 F.3d at 1014.

       Second, the Departments ignored the fundamental unworkability of their prohibition on

“double counting” information that is already included in the QPA and the associated requirement

that the arbitrator explain in writing why it concluded that information was not already reflected

in the QPA. The QPA remains a black box into which healthcare providers and arbitrators have no

meaningful insight or input. It is a figure calculated in secret by the insurer based on the insurer’s

information and about which the insurer must disclose only limited information. Without a com-

plete picture of how the QPA was calculated, providers offering additional information that they

believe supports their offers cannot reasonably be expected to show that this information was not

already accounted for in the QPA. Nor can arbitrators be expected to determine on their own

whether the QPA accounts for a particular piece of information. The Departments acknowledged

none of these obvious problems, although “it is difficult to imagine a more important aspect of the

problem” than a policy’s impracticability. Cigar Ass’n of Am. v. FDA, 964 F.3d 56, 62 (D.C. Cir.

2020). By providing no explanation of how their no-double-counting rule is supposed to work—

or could possibly work—the Departments acted arbitrarily and capriciously. See Tice-Harouff v.

Johnson, No. 6:22-cv-201-JDK, 2022 WL 3350375, at *11 (E.D. Tex. Aug. 12, 2022) (Kernodle,

J.) (“[A]lthough an agency’s experience and expertise presumably enable the agency to provide

the required explanation, they do not substitute for the explanation.” (cleaned up)).




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       Third, the Departments supplied no logical reason why arbitrators should be required to

treat the QPA as credible while viewing all other information critically. The Departments them-

selves recognized that the QPA would “meet the credibility requirement” only if it is “calculated

… consistent with the detailed rules issued under the [July IFR]” and “communicated in a way that

satisfies the applicable disclosure requirements.” 87 Fed. Reg. at 52,627. But there has been little

auditing or monitoring of the accuracy of QPA calculations, and in most cases the QPA will be an

unaudited figure unilaterally calculated by the insurer. The Departments themselves have else-

where acknowledged that insurers have failed to comply with certain aspects of the Departments’

rules for calculating QPAs. See supra, at 7. The Departments’ assertion that the QPA “will mee[t]”

the credibility standard is therefore entirely unsupported and hence arbitrary and capricious. See,

e.g., Matter of Bell Petrol. Servs., Inc., 3 F.3d 889, 905–06 (5th Cir. 1993).

       The Departments grappled with none of these concerns about the credibility of QPA cal-

culations. Nor did they consider an obvious alternative: permitting arbitrators to take these credi-

bility concerns into account in deciding how much weight to give the QPA. The Departments noted

that “it is the Departments’ (or applicable state authorities’) responsibility, not the certified IDR

entity’s, to monitor the accuracy” of the QPA. 87 Fed. Reg. at 52,627 n.31. But while Congress

charged the Departments with auditing some subset of insurers’ QPA calculations, it does not

follow that insurers’ calculations will always be correct or that arbitrators must invariably treat

them as such, while scrutinizing all other information more closely. See Chamber of Commerce,

885 F.3d at 382 (“Illogic and internal inconsistency are characteristic of arbitrary and unreasonable

agency action.”). Thus, the Departments failed to consider important aspects of the problem, ad-

dress obvious alternatives, or articulate satisfactory explanations for their decision. See State Farm,

463 U.S. at 43; Chem. Mfrs. Ass’n v. EPA, 870 F.2d 177, 264 (5th Cir. 1989).



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       Fourth, the Departments’ “related to” requirement is arbitrary. Nowhere did the Depart-

ments explain how information that Congress mandated be considered could fail to be “related to”

a party’s offer or the arbitrator’s task. Even taken on its own terms, the Department’s requirement

is unreasonable. For example, the Departments would prohibit arbitrators from giving weight to

the “additional circumstance” of the provider’s level of training and experience, 42 U.S.C.

§ 300gg-111(c)(5)(C)(ii)(III), unless the provider shows that his or her “level of training and ex-

perience was necessary for providing” the service at issue “or that the training or experience made

an impact on the care that was provided.” 87 Fed. Reg. at 52,653. But relatedness does not imply

necessity or causation. See, e.g., Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017,

1026 (2021) (concluding that relatedness demands some connection but not a causal one). The

Departments offered no explanation at all for their unusual definition, and “an agency’s ipse dixit

cannot substitute for reasoned decisionmaking.” Music Choice v. Copyright Royalty Bd., 970 F.3d

418, 429 (D.C. Cir. 2020); see also Chamber of Commerce, 885 F.3d at 382 (finding rule unlawful

in part because it rested on the agency’s unsupported and illogical “fiat”).

III.   The Challenged Provisions Should Be Vacated And Remanded With Instructions To
       The Departments To Stop Privileging The QPA In The IDR Process.

       As in TMA I, “vacatur of the challenged portions of the [Final] Rule is the appropriate

remedy.” TMA I, 2022 WL 542879, at *14; see United Steel v. Mine Safety & Health Admin., 925

F.3d 1279, 1287 (D.C. Cir. 2019) (“The ordinary practice is to vacate unlawful agency action.”).

       The “seriousness of the deficiency weighs heavily in favor of vacatur.” TMA I, 2022 WL

542879, at *14. Because the Final Rule “conflicts with the unambiguous terms of the Act in several

key respects,” the Departments cannot “rehabilitate or justify the challenged” provisions on re-

mand. Id. Nor is it likely that the Departments will be able to correct their deficient reasoning.

After TMA I, the Departments knew about many of the potential problems with the Final Rule, but


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they ignored or failed to adequately address them. This Court should not give the Departments a

third chance. See Texas v. Biden, 20 F.4th 928, 1000 (5th Cir. 2021), rev’d and remanded on other

grounds, 142 S. Ct. 2528 (2022) (vacating action where agency “was on notice about the problems

with its decision … [a]nd it still failed to correct them”). Nor will vacatur be “unduly disruptive.”

TMA I, 2022 WL 542879, at *14. As before, the Final Rule’s surviving provisions and the statute

“itself provide a sufficient framework” for resolving disputes. Id.

       The Court should also remand to the Departments with specific instructions. See Sierra

Club v. EPA, 346 F.3d 955, 963 (9th Cir. 2003) (“[B]oth Supreme Court and …. Circuit precedent

acknowledge the propriety of remanding with instructions in exceptional cases.”). That additional

step is appropriate where, as here, an agency has failed to comply with a previous court order or

has otherwise repeatedly failed to respect the governing law. See, e.g., Fiber Glass Sys., Inc. v.

NLRB, 807 F.2d 461, 463 (5th Cir. 1987); Earth Island Inst. v. Hogarth, 494 F.3d 757, 769–70

(9th Cir. 2007). Because of the Departments’ “stubborn refusal to follow [this Court’s mandate]

or statutory provisions,” Loc. Joint Exec. Bd. of Las Vegas v. NLRB, 657 F.3d 865, 873 (9th Cir.

2011), the proper remedy is to remand to the Departments with specific instructions to comply

with the law. Specifically, the Court should instruct the Departments that in any future rules, guid-

ance, or other actions concerning the IDR process, the Departments may not (i) instruct arbitrators

to place any greater weight on the QPA than on the other statutory factors, (ii) condition arbitrators’

consideration or weighing of the other factors upon any additional findings relating to the QPA,

or (iii) impose on arbitrators any administrative burdens that are conditioned upon arbitrators’ re-

lying on factors other than the QPA or selecting the offer farther from the QPA.

                                          CONCLUSION

       For the foregoing reasons, the Court should vacate the challenged provisions of the Final

Rule, see Compl., Prayer for Relief ¶ B, and remand with the instructions laid out above.
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Dated: October 12, 2022              Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on all counsel of record in accordance with the Federal Rules of Civil Procedure

and this Court’s CM/ECF filing system on October 12, 2022.

                                                   /s/ Eric D. McArthur
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